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                                                       THE HONORABLE RICARDO S. MARTINEZ

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 7                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE
 9
      SEDRICK DEWAYNE ALTHEIMER,
10
                                    Plaintiff,             Case No. 2:2I-cv-01437-RSM
11     v
                                                           PLAINTIFF’S REQUEST
12
      PIERCE COUNTY, WASHINGTON, and                       TO PERMIT ENTRY UPON
13    PIERCE COUNTY SHERIFF EDWARD C.                      DEFENDANT SHERIFF EDWARD
      TROYER, (a!k/a Ed Troyer). in his individual         C. TROYER’S PROPERTY AND
14    and official capacity,                               DEFENDANT’S OBJECTIONS AND
                                                           RESPONSE THERETO
15                                  Defendants.
16

17

18    TO:    PIERCE COUNTY SHERIFF EDWARD C. TROYER. (a/k/a Ed Troyer), in his individual
             and official capacity, Defendant; and
19

20    TO:    L. CLAY SELBY and ERIC F. SCHACHT, counsel for Defendant SHERIFF EDWARD C.
             TROYER, (aIIc’a Ed Troyer), in his individual and official capacity.
21

22           Pursuant to Fed. R. Civ. P. 34(a)(2), Plaintiff Sedrick Dewayne Altheimer requests that

23    Defendant Sheriff Edward C. Troyer permit Plaintiff and his attorneys, Vonda M. Sargent and Susan

24    B. Mindenbergs, to enter Defendant Troyer’s residential property located at 2901 Vista View Drive,

25    Tacoma, Washington 98407 (“residential property”) on Friday, September 29, 2023, at 9:00 p.m.

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       PLAINTIFF’S REQUEST TO PERMIT ENTRY                   THE LAW OFFICES OF VONDA M. SARGENT
       UPON DEFENDANT SHERIFF EDWARD C.                             I I9FIRSTAVE. S.. STE. 500
       TROYER’S PROPERTY AND OBJECTIONS AND                          SEATTLE. WA 98104-2564
                                                                         TEL: (206)838-4970
       RESPONSE THERETO                                                  FAX: (206) 682-3002
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 1   for the purposes described below:

 2          REOUEST NO. 1: Plaintiff and Plaintiffs attorneys be permitted to inspect, measure, and

 3   photograph the location, home, yard, out buildings, and fixtures which constitute the residential

 4   property relevant to this matter. This request seeks entry onto the residential property made by

 5   Plaintiff, his attorneys, an investigator, and a photographer of the Plaintiffs choosing. Plaintiff will

 6   bring equipment for measuring, photographing, video recording, and otherwise inspecting said

 7   residential property. Plaintiff anticipates the measurement may take up to two (2) full hours but is

 8   likely to be much faster.

 9          RESPONSE:            Defendant Troyer objects to Plaintiffs Request to Permit Entry onto

10   Defendant Troyer’s Property (“Request to Inspect”) for the following reasons:

11          Plaintiffs request serves no legitimate discovery purpose. Plaintiff seeks information that

12   is neither relevant nor proportional to the needs of this case. The facts upon which Plaintiff bases

13   his causes of action allegedly occurred several blocks from Defendant Troyer’s residence, at a vastly

14   different time of year, and a much later hour. The burden that this Request to Inspect places upon

15   Defendant Troyer and his family far outweighs its likely benefit.

16          Additionally, Plaintiffs Request to Inspect is intended to intimidate, harass, and/or

17   embarrass Defendant Troyer, his wife, and other family members. As such, this Request is vexatious

18   and brought in bad faith. Moreover, the Request to Inspect is vague and unduly burdensome because

19   it does not identify the purported need or basis for such inspection, the proposed scope of such

20   inspection, or the limits upon such inspection.      Instead, Plaintiff demands unfettered access to

21   Defendant Troyer’s house, yard, outbuildings, and fixtures, none of which are relevant to the claims

22   or defenses alleged in this lawsuit.

23           Defendant Troyer objects to this Request to Inspect because it violates his right to privacy,

24   along with that of his wife, Wendy Kaleiwahea, and their other family members. Plaintiff seeks

25   unfettered access to the Troyers’ residence on a Friday night for up to two hours without explanation

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                                                                        SEATTLE. WA 98104-2564
      TROYER’S PROPERTY AND OBJECTIONS AND
                                                                           TEL: (206) 838:4970
      RESPONSE THERETO
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 1   or legitimate basis. Again, the burden that this Request to Inspect places upon Defendant Troyer

 2   and his family far outweighs its likely benefit.

 3          Defendant Troyer objects to this Request to Inspect because of legitimate concerns about his

 4   safety and that of his family. Since Plaintiff filed this lawsuit, media and private citizens have

 5   targeted Defendant Troyer for alleged, but unproven, had acts. In this age of targeted attacks on

 6   public officials   —   including at their residences   —   Defendant Troyer is reasonably concerned that

 7   allowing Plaintiff and other unidentified persons access to his residence could and would lead to the

 8   leak of private, confidential details such as the internal layout of Defendant Troyer’s house,

 9   measurements within the residence, identification and location of personal property, etc. Given the

10   very real danger that could come from dissemination of such information, the prejudicial effect of

11   this Request to Inspect far outweighs any benefit of such discovery.

12          Defendant Troyer objects to this Request to Inspect because it is unduly burdensome and

13   exposes himself and his family to potential liability in that Defendant Troyer’s residence is in the

14   midst of a remodel. Flooring has been removed in the interior, and in places boards are covering

15   exposed holes. Rails on the exterior deck have been removed as well.

16           Finally, Defendant Troyer objects to this Request to Inspect because it is scheduled for a

17   date on which his attorney is unavailable as noted in a Notice of Unavailability filed and served on

18   August 22, 2023. Dkt 36.

19           Based on the foregoing objections, and reserving all other rights and defenses, Defendant

20   Troyer rejects Plaintiffs Request to Inspect.

21           DATED this 29th day of August 2023.

22                                                    By: /s/ VondaM Sargent
                                                      Vonda M. Sargent, WSBA #24552
23
                                                      The Law Offices of Vonda M. Sargent
24                                                    119 First Avenue South, Suite 500
                                                      Seattle, WA 98104
25                                                    Telephone: (206) 838-4970
                                                      Facsimile: (206) 682-3002
26
      PLAINTIFF’S REQUEST TO PERMIT ENTRY                            THE LAW OFFICES OF VONDA M. SARGENT
      UPON DEFENDANT SHERIFF EDWARD C.                                      I I9FIRSTAVE. S.. STE. 500
                                                                             SEATTLE, WA 98104-2564
      TROYER’S PROPERTY AND OBJECTIONS AND
      RESPONSE THERETO                                                          FAX:
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                                       Email: sisterlaw@me.com
 1
                                       By: <sV Susan B. Mindenbergs
 2                                     Susan B. Mindenbergs, WSBA #20545
                                       Law Office of Susan B. Mindenbergs
 -3
                                       705 Second Avenue, Suite 1050
                                       Seattle. WA 98104
 4
                                       TeLephone: (206) 447-1560
                                       Facsimile: (206) 447-1523
                                       Email: susanmm’msn.com
 6                                     A ttornevs for Plaintiff
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      PLAINTIFF’S REQUEST TO PERMIT ENTRY          THE LAW OFFICES OF ONDA M. SARGENT
      UPON DEFENDANT SHERIFF EDWARD C.                       119 FIRST AVE. S.. STE. 500
                                                              SEATTLE. WA 981(14-2564
      TROYER’S PROPERTY AND OBJECTIONSAND
                                                                 TEL: (206) 838-4970
      RESPONSE THERETO                                           FAX: (206) 682-3002
      Case No. 2:21-cv-01437-RSM
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                           _______                               _____________________,




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 2                              DEFENDANT TROYER’S VERIFICATION
 3
     STATE OF WASHINGTON
 4   CITY/COUNTY OF                                    to-wit:

 5          Edward C. Troyer, being first duly sworn upon oath, deposes and states as follows:

 6          That I am a Defendant herein; that I have read the foregoing response to Plaintiffs Request

 7   to Permit Entry Upon Defendant Sheriff Edward C. Troyer’s Property, know the contents thereof,

 8   and represent the same to be true and complete.

 9          I certify (or declare) under penalty of perjury under the laws of the State of Washington and

10   the United States of America that the foregoing is true and correct.

II          Dated thisZ(, day of34o,y1bt(2023, in                                         Washington.
12

13                                                Edward C. Troyer, Defendant
14

15          Subscribed and sworn to before me this 2-La day of S.e404t’AY? kz.ty             2023.

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                    NICHOAL FLYNN                  AJ14IJnP Fiunvl
19                   Notary Public                (Printed Name)        J
                  State of Washingtor
                Commission # 23024204
20           My Comm. Expires Sep 5, 2027         NOTARY PUBLIC in and for the State of Washington
21                                                My Commission Expires:Ziqon1Icr 2b37
22

23

24

25

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                                                                         SEATTLE. WA 98104-2564
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                                                                            TEL: (206) 838-4970
      RESPONSE THERETO                                                       FAX: (206) 682-3002
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                                         CERTIFICATE OF SERVICE

 2              I hereby certify that on August 29, 2023, the undersigned caused a true and correct copy of

4        the foregoing document to be served in the manner indicated below upon the folloing

         individual(s):

 6          L. Clay Selbv. WSBA #26049                           D Legal Messenger
            Eric F. Schacht. WSBA #56342                         H USPS First Class Mail
 7          Ledger Square Law. P.S.                              H Facsimile
            710 Market Street                                      Electronic Mail
 8
            Tacoma, WA 98402                                     H UPS Shipping
 9          Telephone: (253) 327-1900                            H CM/ECF
            Facsimile: (253) 327-1700
10          Email: Clay(LedgerSguareLaw.com
            Email: EricLedgerSguareLaw.com
11          Attorneys for Defndant Edward C. Troyer
12
            Gregory E. Jackson. WSBA #17541                      LI Legal Messenger
I,
Ii          Jackson & Nicholson. P.S.                            H USPS First Class Mail
            900 SW 16th Street. Suite 215                        H Facsimile
14   :      Renton.W‘A 98057                                       Electronic Mail
15
            Telephone: (206) 582-6001                            H UPS Shipping
            Facsimile: (206) 466-6085                            H C 1\4’ECF
            Email: Greg’Zijnseattle.com
16
            Attorney for Defendant Pierce County, W4
17

18               The foregoing statement is made under the penalty of perjury under the laws of the State of

19       Washington and is true and correct.

20               DATED this 29th day of August 2023

21                                                      By: / Christine A. Tobin
                                                        Christine A. Tobin, Paralegal
22                                                      Law Off cc of Susan B. Mindenbergs
23                                                      705 Second Avenue, Suite 1050
                                                        Seattle. WA 98104
24                                                      Telephone: (206) 447-1560
                                                        FacsimiLe: (206)447-1523
25                                                      Email: christineri2sbmlaw.net
26
           PLAINTIFFS REQUEST TO PERMIT ENTRY                    THE LAW OFFICES OF ‘ONDA NI. SARGENT
           UPON DEFENDANT SHERIFF EDWARD C.                               119 FIRST AVE. S.. STE. 500
                                                                           SEATTLE, WA98101-2564
           TROYER’ S PROPERTY AND OBJECTIONS AND                              TEL: (206) 838-4970
           RESPONSE THERETO                                                   FAX: (206)682-3002
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